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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO



ABBASID, INC. d/b/a AZHAR’S ORIENTAL RUGS,

       Plaintiff,

vs.                                                         Case No. CV-09-00354 JP/LFG

FIRST NATIONAL BANK OF SANTA FE and
LOS ALAMOS NATIONAL BANK,

       Defendants.

                         MEMORANDUM OPINION AND ORDER

       On April 19, 2009, following a jury trial that resulted in a judgment in favor of Defendant

Los Alamos National Bank (LANB), the Clerk of the Court entered the Clerk’s Order Settling

Costs (Doc. No. 80), taxing costs against Plaintiff Abbasid, Inc. d/b/a Azhar’s Oriental Rugs

(Abbasid) and in favor of LANB in the amount of $5,582.85. Abbasid did not pay the costs and,

on May 11, 2010, LANB Filed LANB’s Opposed Motion To Compel Compliance With Order

And For Sanctions (Doc. No. 84) requesting that the Court compel Plaintiff to comply with the

Clerk’s Order Settling Costs and that the Court award LANB sanctions for Abbasid’s failure to

pay costs. On June 3, 2010, the Court entered a Memorandum Opinion And Order (Doc. No. 88)

that granted LANB’s Opposed Motion to Compel Compliance With Order And For Sanctions

and ordered Abbasid to pay LANB $5,582.85 in taxed costs by June 15, 2010.

       Abbasid did not pay the costs as required by the June 3, 2010 Memorandum Opinion and

Order (Doc. No. 88) and, on June 18, 2010, LANB filed LANB’s Opposed Motion To Show

Cause Why Azhar Said Should Not Be Held In Contempt And For Sanctions (Doc. No. 93). On


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July 2, 2010, Abbasid filed Plaintiff Abbasid, Inc. D/B/A Azhar’s Oriental Rugs’s Amended

Response to Defendant Los Alamos National Bank’s Opposed Motion To Show Cause Why

Azhar Said Shall Not Be Held In Contempt And For Sanctions (Doc. No. 95) (“Amended

Response”). In its Amended Response, Abbasid contended that entry of a contempt order is not

a proper remedy to collect a money judgment and that under Rule 69(a) of the Federal Rules of

Civil Procedure, which provides that “[a] money judgment is enforced by a writ of execution,

unless the court directs otherwise,” the only way to enforce a money judgment is through a writ

of execution.

       On July 9, 2010, LANB filed LANB’s Reply To Planitiff’s [sic] Response To Opposed

Motion To Show Cause Why Azhar Said Should Not Be Held In Contempt And For Sanctions

(Doc. No. 96). In its reply, LANB did not directly address Abbasid’s argument that the Court’s

order to pay costs was a money judgment subject to Rule 69(a) that can only be enforced by a

writ of execution. Instead, LANB argued generally that the Court possesses the power to hold a

party in contempt for violation of a court order.

       On July 23, 2010, the Court entered an Order to Show Cause (Doc. No. 99) that ordered

Azhar Said, the President and sole shareholder of Abbasid, Inc., to appear on August 16, 2010 to

show cause why he should not be held in contempt and compelled to pay LANB the $5,582.85 in

taxed costs that Abbasid had previously been ordered to pay.

       Following the hearing to show cause, LANB’s counsel filed an affidavit (Doc. No. 104)

in support of LANB’s request for sanctions indicating that LANB had expended $5,519.29 in

attorney’s fees and costs to compel Abbasid to pay the $5,582.85 taxed in costs. On September

1, 2010, Abbasid’s counsel filed an affidavit (Doc. No. 106) contesting the reasonableness of the

costs LANB had incurred while attempting to compel Abbasid to pay the taxed costs. Abbasid’s

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counsel argued that it was unreasonable to incur costs to enforce a money judgment by civil

contempt because the law does not recognize contempt as a method to collect a money

judgment.

                                          DISCUSSION

       Abbasid argues that the Court’s June 3, 2010 order to pay costs is a money judgment

subject to Rule 69(a). LANB did not respond directly to this argument, and does not contend

that the Court’s order to pay costs is not a money judgment. The Court will therefore treat the

order as a money judgment for purposes of determining whether Abbasid can be compelled to

pay under the Court’s contempt power. See Great-West Life & Annuity Ins. Co. v. Knudson, 534

U.S. 204 (2002) (noting that the ‘substance’ of a money judgment is a compelled transfer of

money); Wheeler v. John Deere Co., 986 F.2d 413, 414 (10th Cir. 1993) (noting that “[a]n award

of costs, which partially reimburses the prevailing party for the out-of-pocket expenses of

litigation, is obviously ‘any money judgment’” such that post-judgment interest applies to costs);

and 28 U.S.C. § 1920 (providing that “[a] bill of costs shall be filed in the case and, upon

allowance, included in the judgment or decree”). Notably, LANB also did not respond to any of

Abbasid’s arguments regarding the propriety of enforcing a money judgment through the Court’s

contempt power and argued only generally that the court has the power to hold a party in

contempt for violation of an order.

       Rule 69(a) provides that “[a] money judgment is enforced by a writ of execution, unless

the court directs otherwise” and that “the procedure on execution--and in proceedings

supplementary to and in aid of judgment or execution--must accord with the procedure of the

state where the court is located.” Fed. R. Civ. P. 69(a). While the “unless the court directs

otherwise” language of the rule appears to permit proceedings other than a writ of execution to

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collect a money judgment, this language has been read narrowly to apply only in “cases where

established principles so warrant.” Shuffler v. Heritage Bank, 720 F.2d 1141 (9th Cir. 1983)

(citing 7 J. Moore & J. Lucas, Moore’s Federal Practice ¶ 69.03[2] (2d ed. 1982)). Thus, as

general rule “when a party fails to satisfy a court-imposed money judgment the appropriate

remedy is a writ of execution, not a finding of contempt.” Combs v. Ryan’s Coal Co., 785 F.2d

970 (11th Cir. 1986).

       Despite the general consensus that Rule 69(a) prohibits the use of a court’s contempt power

to enforce a money judgment, the Tenth Circuit Court of Appeals has not directly addressed the

question and has, in fact, created some doubt regarding whether its interpretation of Rule 69(a)

would conform with the rulings by other circuit courts.          See O’Connor v. Midwest Pipe

Fabrications, Inc., 972 F.2d 1204, 1209 (10th Cir. 1992) (noting that “[a]rguably there may be

support for such an exercise of contempt power for the enforcement of a money judgment” but

declining to address the issue because the contempt order at issue was for failing to fully account

for property that might have been used to satisfy a judgment). In support of its assertion that there

may arguably be support for the use of the contempt power to enforce a money judgment, the Tenth

Circuit cited two of its own opinions, Atlas Corp. v. Devilliers, 447 F.2d 799, 803 (10th Cir. 1971)

and Freeman v. Heiman, 426 F.2d 1050, 1052 (10th Cir. 1970) as well as one opinion from the

Seventh Circuit, Laborers’ Pension Fund v. Dirty Work Unlimited, Inc., 919 F.2d 491, 494 (7th Cir.

1990). See id. Despite the Tenth Circuit’s indication that these cases might support the exercise of

contempt power to enforce a money judgment, none of the cases departed from the general rule that

contempt is not an appropriate means of enforcing a money judgment. Rather, all three cases cited

in O’Connor relate to the propriety of using contempt to sanction a party’s refusal to comply with

lawful procedures to collect a money judgment, not a refusal to pay a money judgment.

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       In Atlas Corp., the Tenth Circuit upheld the exercise of a district court’s contempt power

where the district court had held a judgment debtor in contempt for hiding assets and misleading a

United States Marshal who attempted to collect a money judgment pursuant to a writ of execution.

447 F.2d at 803. While the fine assessed against the judgment debtor was ultimately paid to the

judgment creditor in reduction of its judgment, the contempt citation was not issued for a failure to

pay the judgment, but instead was issued for the debtor’s actions in attempting to avoid the

Marshal’s attempt to collect under a valid writ of execution. Id. Thus, the contempt citation did not

violate the state and federal statute prohibiting imprisonment for failure to pay a debt because the

contempt related to the debtor’s conduct in hiding his assets, not his failure to pay, and was therefore

not an attempt to use means other than a writ of execution to collect a money judgment. See id.

       The second and third cases cited in O’Connor both dealt with situations where a district

court’s contempt power was used to compel payment pursuant to a court ordered installment plan

or turnover order. In Freeman, the Tenth Circuit upheld a district court’s use of its contempt power

to enforce an order to make installment payments to satisfy a money judgment. 426 F.2d at 494.

Notably, the installment payments were ordered after a hearing in which the debtor was ordered to

appear and answer as to his assets under a state statute intended to aid judgment creditors in

collecting from the debtor. Id. at 1052. The statute expressly authorized an order of contempt if a

debtor failed to comply with the order to make payments. Id. at 1051. Because the court was using

its contempt power to enforce an order to pay specific funds, and not to enforce a money judgment,

the use of the contempt power did not fall under the scope of Rule 69(a). Laborers’ Pension Fund,

the third case cited by the Tenth Circuit in O’Connor, dealt with a contempt citation for failure to

comply with an order to turnover specific assets in satisfaction of a judgment. 919 F.2d at 494. The

Tenth Circuit has since directly addressed the issue decided by the Seventh Circuit in Laborers’

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Pension Fund and concluded that contempt is appropriate when a judgment debtor fails to comply

with a turnover order to pay specific assets in satisfaction of a judgment. United Itern. Holdings,

Inc. v. Wharf (Holdings) Ltd., 210 F.3d 1207 (10th Cir. 2000). Holding a party in contempt for

failing to comply with a turnover order or an installment plan, like holding a party in contempt for

hiding assets, does not run afoul of Rule 69(a) because the contempt does not stem directly from a

judgment debtor’s failure to pay a money judgment. Rather, the contempt occurs when a judgment

debtor refuses to comply with lawful procedures initiated to collect the money judgment.

       Thus, the Tenth Circuit has made clear that contempt is an appropriate remedy to enforce

a judgment where a debtor engages in wrongful conduct by hiding assets that a judgment creditor

attempts to collect under a writ of execution and where a judgment debtor fails to turnover specific

assets that the debtor has been ordered to pay in execution proceedings. Notably, contempt is only

an appropriate remedy in both of these situations after a judgment creditor has already initiated other

lawful processes to collect the money judgment. The contempt is thus not for refusing to pay a

money judgment, but for refusing to comply with court orders designed to satisfy the money

judgment. See in re Steele Cattle, Inc., 39 F.3d 1192 (10th Cir. 1994) (unpublished) (explaining

that debtors who failed to make escrow payments after a bankruptcy court specifically identified

assets that the debtors could use to make the payments “confuse the ideas of being imprisoned

because they cannot pay their debts with being imprisoned because they refuse to pay their debts”

when arguing that the court could not hold them in contempt). These opinions are therefore fully

consistent with the general rule that a money judgment can only be collected by a writ of execution

and do not indicate that the Tenth Circuit would depart from the general rule.

       Finally, Rule 69(a) requires that “the procedure on execution--and in proceedings

supplementary to and in aid of judgment or execution--must accord with the procedure of the state

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where the court is located.” Fed. R. Civ. P. 69(a). Under New Mexico law, a district court cannot

use its civil contempt power to enforce a civil money judgment. Papatheofanis v. Allen, 2009-

NMCA-084, ¶ 13, 146 N.M. 840, 215 P.3d 778. Because holding a party in contempt carries with

it a threat of incarceration, holding a party in contempt for a failure to satisfy a money judgment

risks violating a provision in New Mexico’s Constitution providing that “[n]o person shall be

imprisoned for debt in any civil action.” N.M. Const. Art. 2 §21. Thus, under New Mexico law,

which the Court must look to under Rule 69(a), the Court’s contempt power cannot be used to

compel the payment of a money judgment.

                                         CONCLUSION

       Because the Tenth Circuit’s law in this area is consistent with the general rule that a district

court cannot enforce a money judgment by exercising its contempt power, and because New Mexico

law expressly forbids such a practice, the Court concludes that contempt is an inappropriate method

to compel Abbasid to pay the $5,582.85 in costs ordered by the Court. To collect its money

judgment, LANB was required to utilize a writ of execution as provided for in Rule 69(a). There

is no evidence that LANB attempted to collect its money judgment by means of a writ of execution.

Rather, after Abbasid failed to pay the costs taxed by the court clerk, LANB immediately sought to

have the Court order Abbasid to pay. After Abbasid failed to pay the costs as ordered by the Court,

LANB then immediately sought to enforce the money judgment by having the Court hold Abbasid

in contempt and award additional sanctions to LANB. While Abbasid has clearly failed to pay the

costs the Court ordered it to pay, Abbasid has not interfered with a lawful attempt to collect the

money judgment or refused to turnover specific assets in satisfaction of its debt. While the Court

expresses its strong disapproval of Abbasid’s continued refusal to pay the costs Abbasid has been

ordered to pay, holding Abbasid in contempt is not the appropriate method of compelling Abbasid

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to make good on its obligations to LANB.

IT IS ORDERED THAT:

       Defendant Los Alamos National Bank’s Opposed Motion To Show Cause Why Azhar Said

Should Not Be Held In Contempt And For Sanctions (Doc. No. 93) is DENIED in that the Court will

not hold Abbasid, Inc. or its President, Azhar Said, in contempt and the Court will not award

sanctions against Abbasid in favor of LANB.




                                               _______________________________________
                                               SENIOR UNITED STATES DISTRICT JUDGE




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